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Information to identify the case:
Debtor 1              Larry J Matlock                                                   Social Security number or ITIN        xxx−xx−6096
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Ladonna F Matlock                                                 Social Security number or ITIN        xxx−xx−5665
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Arkansas                  Date case filed for chapter 7 12/14/17

Case number:          5:17−bk−73105                                                     Judge: Ben T Barry


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Larry J Matlock                                     Ladonna F Matlock

2.      All other names used in the                                                                  aka Donna Matlock
        last 8 years

3.      Address                                  1225 E Lake Rd                                      1225 E Lake Rd
                                                 Springdale, AR 72762                                Springdale, AR 72762

4.     Debtor's attorney                     Todd F. Hertzberg                                      Contact phone 479−303−5555
                                             HERTZBERG LAW FIRM OF ARKANSAS, P.A.
       Name and address                      4285 N. Shiloh Dr.                                     Email: toddhertzberg@yahoo.com
                                             Suite 108
                                             Fayetteville, AR 72704

5.     Bankruptcy trustee                    Bianca Rucker                                          Contact phone 479−445−6340
                                             Chapter 7 Panel Trustee
       Name and address                      1 East Center Street                                   Email: ruckerlaw@outlook.com
                                             Suite 215
                                             Fayetteville, AR 72701
                                                                                                               For more information, see page 2 >
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Debtor Larry J Matlock and Ladonna F Matlock                                                                        Case number 5:17−bk−73105


6. Bankruptcy clerk's office                      300 W. 2nd Street                                          Hours open 8:00 a.m. − 5:00 p.m.
                                                  Little Rock, AR 72201
    Documents in this case should be filed in OR                                                             Contact phone: 501−918−5500 or
    ECF or at one of these addresses. You         35 E. Mountain St. Rm 316                                  479−582−9800
    may inspect all records filed in this case at Fayetteville, AR 72701
    this office or online at www.pacer.gov.
                                                                                                             Date: 12/15/17

7. Meeting of creditors                          January 22, 2018 at 09:00 AM                                Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              U.S. Bankruptcy Courtroom
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            (Room 416), 35 E. Mountain
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Street, 4th Floor, Room 416,
                                                                                                             Fayetteville, AR 72701
                                                     *** Valid photo identification and proof of social
                                                                security number required ***


8. Presumption of abuse                          Insufficient information has been filed to date to permit the clerk to make any
                                                 determination concerning the presumption of abuse. If more complete information,
    If the presumption of abuse arises, you      when filed, shows that the presumption has arisen, creditors will be notified.
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 3/23/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.                                                                          You must file a motion:
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to          • if you assert that the discharge should
                                                   receive a discharge of any debts under any of the           be denied under § 727(a)(8) or (9).
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                                                                             conclusion of the meeting of creditors or
                                                 The law permits debtors to keep certain property as
                                                                                                             within 30 days after any amendment to the
                                                 exempt. If you believe that the law does not authorize an
                                                                                                             list or supplemental schedules is filed,
                                                 exemption claimed, you may file an objection.               whichever is later. ****
                                                 Deadline to object to exemptions in cases                   ****Filing deadline: See Bankruptcy
                                                                                                             Rule 1019(2)(B).
                                                 converted to Chapter 7:

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.

13. Intent to abandon property                   The trustee may give notice at the meeting of creditors of his/her intent to abandon
                                                 property unless objections are filed within 15 days.
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